         Case 1:21-cv-00939-SMV Document 13 Filed 12/06/21 Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO

DEREK A. BENNETT,

               Plaintiff,

       vs.                                                   CIV No. 21-939 SMV

KILOLO KIJAKAZI, Acting Commissioner,
Social Security Administration,

               Defendant.

                     ORDER TO SEAL ADMINISTRATIVE RECORD

       THIS MATTER having come before the Court upon Defendant’s Unopposed Motion to

Seal Administrative Record (Doc. 11), it being stated that Plaintiff concurs in the granting of the

motion, the Court having read the motion and being fully advised in the premises finds that there

is good cause for granting the motion.

       IT IS HEREBY ORDERED that the administrative record lodged by Defendant in the

above-referenced case shall be permanently sealed. Access to the administrative record shall be

limited to the Court and the case participants only.

                                                       __________________________________
                                                       STEPHAN M. VIDMAR
                                                       United States Magistrate Judge


SUBMITTED AND APPROVED BY:

Electronically submitted December 6, 2021
MANUEL LUCERO
Assistant United States Attorney
Attorney for Defendant

Electronically approved December 6, 2021
TIMOTHY BURNS
MATTHEW FREDERICK RICHTER
Attorneys for Plaintiff
